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                             EXHIBIT 14
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    1              IN THE UNITED STATES DISTRICT COURT
    2                  SOUTHERN DISTRICT OF FLORIDA
    3    ____________________________________
                                             )
    4    ALEKSEJ GUBAREV, XBT HOLDING S.A., )
         and WEBZILLA, INC.,                 )
    5                                        )
                        Plaintiffs,          )
    6    vs.                                 ) Case No.:
                                             ) 17-CV-60426-UU
    7    BUZZFEED, INC., and BEN SMITH,      )
                                             )
    8                   Defendants.          )
         ____________________________________)
    9
   10
   11
   12
   13                     VIDEOTAPED DEPOSITION OF
   14                           JOCHEM STEMAN
   15                         LIMASSOL, CYPRUS
   16                     WEDNESDAY, MAY 16, 2018
   17                             1:22 P.M.
   18
   19
   20
   21
   22
   23
   24
   25    REPORTED BY: BRENDA MATZOV, CA CSR 9243

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14:50:22   1   know -- I don't have it on top of mind. So I
14:50:24   2   don't know. I know that they agreed with us
14:50:27   3   to share the article. But I -- all other --
14:50:29   4   if there were other agreements, I don't know.
14:50:33   5               I mean, it's also stating over here
14:50:36   6   somewhere, I think in the e-mail, that says,
14:50:37   7   hey, okay, let's discuss it during or prior
14:50:40   8   to. So it's -- I don't know.
14:50:43   9               MS. SCHARY: Okay. I'm going to
14:51:00 10    show you a document that I'm going to mark
14:51:03 11    as Exhibit 10. It's Bates stamp P-P000668.
14:51:27 12                (Exhibit 10 marked.)
14:51:44 13          Q.    BY MS. SCHARY: Do you recognize
14:51:45 14    this as an e-mail on January 13, 2017, from
14:51:50 15    Jack de Vries at HK Strategies called:
14:51:52 16                "InterviewPrep."
14:51:55 17          A.    (Examining.) Yes.
14:52:00 18          Q.    And did you communicate the substance
14:52:02 19    of this e-mail to Mr. Gubarev?
14:52:15 20          A.    I don't know. It's not in the copy.
14:52:32 21    So I don't know.
14:52:35 22          Q.    Did you forward this to Mr. Gubarev?
14:52:39 23          A.    It's not top of mind. So I don't know.
14:52:42 24          Q.    I'm going to direct you to the second
14:52:45 25    page under:

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14:52:46   1               "Stick to the following key messages."
14:52:47   2         A.    Yes.
14:52:49   3         Q.    The seventh bullet point down starts:
14:52:55   4               "Our own internal investigation" --
14:52:57   5               And there's some brackets. "[Rules out]"
14:52:59   6   is one option. And "[produced no indication]" is
14:53:02   7   the other option.
14:53:03   8               -- "of a hack or abuse."
14:53:04   9               Do you see that?
14:53:05 10          A.    I see that. Yes.
14:53:06 11          Q.    Were you aware of an internal
14:53:09 12    investigation at Webzilla and/or XBT in response
14:53:13 13    to the Buzzfeed dossier?
14:53:22 14          A.    I don't know. I don't know. This is
14:53:26 15    technical department. I don't know.
14:53:27 16          Q.    Well, you were the person who engaged
14:53:30 17    the -- the outside PR agency; right?
14:53:31 18          A.    I was just the man in the middle who
14:53:33 19    arranging it. So yes, I arranged the -- the --
14:53:35 20    the interview. But I don't know all the internal --
14:53:39 21          Q.    Did they ever ask whether the allegations
14:53:42 22    were true?
14:53:45 23                MR. GURVITS: Objection.
14:54:03 24                THE WITNESS: I don't know.
14:54:06 25          Q.    BY MS. SCHARY: You don't know whether

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14:54:08   1   HK Strategies ever asked if the allegations in
14:54:10   2   the Buzzfeed dossier were true?
14:54:14   3               MR. GURVITS: Objection.
14:54:14   4               THE WITNESS: No, I don't know.
14:54:17   5         Q.    BY MS. SCHARY: Did you have any
14:54:17   6   conversations with Mr. Gubarev about whether
14:54:20   7   the allegations in the Buzzfeed dossier were
14:54:21   8   true?
14:54:22   9         A.    Yes.
14:54:28 10          Q.    And what were those con -- how many
14:54:31 11    conversations did you have approximately?
14:54:34 12          A.    I don't know. I don't know.
14:54:38 13          Q.    What did Mr. Gubarev tell you?
14:54:43 14          A.    That's not true.
14:54:44 15                (Court reporter clarification.)
14:54:44 16                THE WITNESS: That it is not true.
14:54:44 17          Q.    BY MS. SCHARY: Did you ask Mr. Gubarev
14:54:45 18    how he knows it's not true?
14:54:47 19          A.    Yes, I did.
14:55:08 20          Q.    And what did he say?
14:55:09 21          A.    That it was not true.
14:55:11 22          Q.    Did he -- other than telling you that
14:55:14 23    it was not true --
14:55:15 24          A.    No.
14:55:15 25          Q.    -- did he provide any explanation as

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14:55:17   1   to how he knows it was not true?
14:55:19   2         A.    No, because this not true. So no.
14:55:22   3         Q.    I'm sorry. Can you repeat that?
14:55:23   4         A.    I said no, because it's not true.
14:55:25   5   So no, there is no ...
14:55:27   6         Q.    Okay. And were you aware of an
14:55:32   7   internal investigation being performed at
14:55:35   8   Webzilla or XBT regarding the allegations?
14:55:43   9         A.    As I already stated, I don't know.
14:55:48 10          Q.    So you didn't advise HK Strategies
14:55:51 11    which of these two options in Exhibit 10 were --
14:55:55 12    were correct?
14:55:56 13          A.    Not that I'm aware of. No.
14:56:00 14          Q.    I'm sorry?
14:56:01 15          A.    Not that I'm aware of. So ...
14:56:04 16          Q.    Sitting here today, do you believe
14:56:10 17    the allegations are true?
14:56:11 18          A.    No.
14:56:12 19          Q.    How do you know?
14:56:13 20          A.    Because I know.
14:56:19 21          Q.    I'm going to look at the third page
14:56:21 22    now of this exhibit, the first bullet point.
14:56:24 23    It says:
14:56:26 24                "Tell me how you protect your" --
14:56:27 25                And my -- just to back up here, my

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    1                     CERTIFICATE OF REPORTER
    2
    3                I, BRENDA MATZOV, CA CSR 9243, do hereby
    4    certify:
    5                That, prior to being examined, the witness
    6    named in the foregoing deposition was duly sworn
    7    by me to testify the truth, the whole truth, and
    8    nothing but the truth;
    9                That the foregoing deposition was taken
   10    before me at the time and place herein set forth,
   11    at which time the aforesaid proceedings were
   12    stenographically recorded by me and thereafter
   13    transcribed by me;
   14                That the foregoing transcript, as
   15    typed, is a true record of the said proceedings;
   16                And I further certify that I am not
   17    interested in the action.
   18
   19                Dated this 16th day of May, 2018.
   20
   21                _________________________________________
                     BRENDA MATZOV, CA CSR 9243
   22
   23
   24
   25

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